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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                     8:07CR156

       vs.
                                                                       ORDER
PAUL BURKS, III,

                      Defendants.


Defendant Paul Burks, III appeared before the court on Wednesday, December 11, 2013 on an
Amended Petition for Warrant or Summons for Offender Under Supervision [103].               The
defendant was represented by Assistant Federal Public Defender Michael F. Maloney on behalf
of Karen M. Shanahan, and the United States was represented by Assistant U.S. Attorney
Thomas J. Kangior. The government did not request detention therefore, the Defendant was not
entitled to a preliminary examination.     The defendant was released on current terms and
conditions of supervision.
       I find that the Report alleges probable cause and that the defendant should be held to
answer for a final dispositional hearing before Senior Judge Strom.
       IT IS ORDERED:
       1.      A final dispositional hearing will be held before Senior Judge Strom in Courtroom
No. 5, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska,
on January 16, 2014 at 11:00 a.m. Defendant must be present in person.
       2.      The defendant is released on current conditions of supervision.




       Dated this 11th day of December, 2013.

                                                    BY THE COURT:
                                                    s/ F.A. Gossett, III
                                                    United States Magistrate Judge
